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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY

MARK E. FELGER (MF9985)
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In re:                                               Case No. 08-14631(GMB)

SHAPES/ARCH HOLDINGS L.L.C., et al.,                 Judge: Gloria M. Burns

              Debtors.                               Chapter: 11


    ORDER AUTHORIZING BUT NOT DIRECTING PAYMENT OF PREPETITION
     SALES COMMISSIONS PURSUANT TO 11 U.S.C. §§ 105(a), 507(a)(4) AND (5)

The relief set forth on the following page, numbered two (2) is hereby ORDERED.
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Shapes/Arch Holdings L.L.C., et al.

Case No. 08-14631(GMB) (Jointly Administered)

Order Authorizing but not Directing Payment of Prepetition Sales Commissions Pursuant to 11 U.S.C. §§ 105(a),
507(a)(4) and (5)




           Upon consideration the verified motion (the “Motion”)1 of the above-captioned debtors

and debtors-in-possession (the “Debtors”), for an Order Authorizing but not Directing Payment

of Prepetition Sales Commissions Pursuant to 11 U.S.C. §§ 105(a), 507(a)(4) and (5); and notice

being sufficient under the circumstances; and such relief being necessary to assure that operation

of the Debtors’ businesses will not be disrupted, it is ORDERED:

           1.       That the Motion is GRANTED.

           2.       That the Debtors are authorized but not directed to pay and/or honor prepetition

sales commissions owed to employees and independent sales representatives, as described in the

Motion.




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    Unless otherwise defined herein, all capitalized terms shall have the meanings ascribed to them in the Motion.
